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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

    AKIA STANTON,                                §
                                                 §
           Plaintiff,                            §
                                                 §
    v.                                           §           CIVIL ACTION NO. 6:18-
                                                 §           CV-00479-JDK
    JARVIS CHRISTIAN COLLEGE,                    §
                                                 §
         Defendant.                              §


                          SATISFACTION OF JUDGMENT

  To the Honorable Judge Kernodle:

         Plaintiff Akia Stanton files this Notice of Satisfaction of Judgment. Judgment

  was issued in favor of Ms. Stanton and against Jarvis Christian College (“Jarvis”) by

  this Court on August 27, 2020 (Dkt 174) and by the Fifth Circuit Court of Appeals on

  March 11, 2022. The District Court ordered Jarvis to pay the Jury-Awarded Damages,

  Liquidated Damages and Interest, Costs and Attorney Fees (Dkt 173). The District

  Court ordered additional Costs on June 16, 2022 (Dkt 193). The Fifth Circuit ordered

  appellate costs on April 29, 2022 and the District Court ordered appellate attorney’s

  fees on July 14, 2023 (Dkt. 202). Ms. Stanton acknowledges that Jarvis paid the

  Judgment, costs, and interest on July 14, 2022 in satisfaction of Dkt 173, appellate

  attorney’s fees in satisfaction of Dkt. 202 on July 28, 2023, and additional Costs and

  appellate costs on September 14, 2023 in satisfaction of Dkt 193 and the Fifth

  Circuit’s order. Accordingly, Ms. Stanton asks that the Court release this Judgment

  as it has been fully and completely satisfied by Jarvis.



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                                                Respectfully submitted,




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                                                 Attorney for Akia Stanton




                             CERTIFICATE OF SERVICE

  I hereby certify that on September 15, 2023, a true and correct copy of the foregoing
  was served via the CM/ECF filing system upon all counsel of record.

  /s/Katherine Britton




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